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 5
 6                               UNITED STATES DISTRICT COURT
 7                             CENTRAL DISTRICT OF CALIFORNIA
 8                                            WESTERN DIVISION
 9 CARPENTERS SOUTHWEST                              No. 2:16-cv-08040-MWF-SK
   ADMINISTRATIVE
10 CORPORATION, a California non-                    MEMORANDUM OF POINTS AND
   profit corporation; and BOARD OF                  AUTHORITIES IN SUPPORT OF
11 TRUSTEES FOR THE
                                                     DEFENDANT HKB, INC.’S MOTION
   CARPENTERS SOUTHWEST                              TO DISMISS OR, IN THE
12 TRUSTS,
                                                     ALTERNATIVE, TO TRANSFER
13                                   Plaintiffs,     VENUE
14 v.
15 HKB, INC., an Arizona corporation,                Assigned to Hon. Michael W. Fitzgerald
   doing business as SOUTHWEST
16 INDUSTRIAL RIGGING; HARRY
   KENT BAKER, an individual;
17 SCOTT WILLIAM MILLER, an
   individual; JAMES DOUGLAS
18 WILSON, an individual,
19
                                     Defendants.
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 1
              Defendant HKB, Inc., dba Southwest Industrial Rigging (“Southwest”)
 2
     specially appears in this action for the limited purpose of moving the court to
 3
     dismiss this lawsuit against Southwest based upon forum non conveniens.
 4
     Southwest is an Arizona company with virtually no ties to California. Likewise,
 5
     the individual defendants have no ties to California.
 6
              The Memorandum Agreement which Plaintiffs seek to enforce against
 7
     Southwest (including the purported venue provision) is unenforceable because
 8
     Southwest never agreed to be bound by the Memorandum Agreement. Indeed,
 9
     the evidence shows that the former employee who purportedly signed the
10
     Memorandum Agreement was known by the Construction Union to lack authority
11
     to bind Southwest. Perhaps even more importantly for these purposes, however,
12
     the evidence and witnesses for this case are all located in California.
13
              Alternatively, if the Court does not dismiss the Complaint, then this action
14
     should be transferred to the District of Arizona because 1) all the relevant parties
15
     are from Arizona, 2) all of the operative facts took place in Arizona, 3) Arizona
16
     has a fundamental governmental interest in this action (statutorily declaring that
17
     this dispute must be decided in Arizona), 4) the evidence (including all non-party
18
     witnesses) are in Arizona, and 5) a lawsuit is already pending in Arizona
19
     regarding the same issues as this case. For this reason, the Court should dismiss
20
     or transfer this case.
21
     1.       California is an improper forum.
22            “To prevail on a motion to dismiss based upon forum non conveniens, a
23 defendant bears the burden of demonstrating an adequate alternative forum, and
24 that the balance of private and public interest factors favors dismissal.”1 The
25 private-interest factors include “(1) relative ease of access to sources of proof; (2)
26 the availability of compulsory process for attendance of unwilling witnesses, and
27
     1
28    Carijano v. Occidential Petroleum Corp., 643 F.3d 1216, 1224 (9th Cir. 2011);
     see Piper Aircraft, 454 U.S. at 255 n. 22; Gilbert, 330 U.S. at 506-507.

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 1 cost of obtaining attendance of willing witnesses; (3) possibility of viewing
 2 subject premises [if applicable]; (4) all other factors that render trial of the case
                                          2
 3 expeditious and inexpensive.”              The public-interest factors are: (1) the
 4 administrative difficulties caused by court congestion, (2) the local interest in
 5 having localized controversies decided at home, and (3) the interest of having a
                                                                   3
 6 case decided in a forum familiar with the applicable law. Courts also consider
                                                                             4
 7 the convenience to the parties, and the enforceability of the judgment.
 8            A.       The defendants have no contact with California.
 9            Southwest has virtually no contact with California. Southwest is an
                                                                                  5
10 Arizona corporation doing business in Arizona as Southwest Industrial Rigging.
11 Southwest has four office locations, all of which are in Arizona: two in Phoenix,
                                       6
12 one in Flagstaff, and one in Tucson. Southwest works in the construction
13 industry and has a construction license, but it is only licensed in Arizona, not
              7                                                            8
14 California. Southwest does not own or lease any property in California.
                                        9
15 Southwest has no staff in California. It does not have a California bank account,
16 mailing address, post office box, statutory agent, or telephone number, nor does it
                                                     10
17 advertise or otherwise solicit work in California. Southwest works almost
                          11
18 exclusively in Arizona. In fact, in the last three years, it has had only one
19 contract in California. That lone transaction was for a mere $15,000, involving
                                                     12
20 only three employees working less than three days. Southwest is a multi-
21 million-dollar entity with approximately 200 employees, so that solitary
22   2
       Creative Tech., 61 F.3d at 703; Gilbert, 330 U.S. at 508.
     3
23     Atlantic Marine, 134 S. Ct. at 581 n.6.
     4
       Gulf Oil Corp., 330 U.S. at 508; Lueck, 236 F.3d at 1145; Loya, 583 F.3d at 664.
24   5
       See Exhibit 1, Declaration of James Douglas Wilson, ¶ 2.
     6
       Wilson Decl. ¶ 3.
25   7
       Wilson Decl. ¶ 4.
     8
26
       Wilson Decl. ¶ 5.
     9
       Wilson Decl. ¶ 6.
     10
27      Wilson Decl. ¶ 7.
     11
        Wilson Decl. ¶ 8.
     12
28      Wilson Decl. ¶ 9.
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                                                                                           13
 1 transaction constituted significantly less than 1% of Southwest's annual work.
                                                                  14
 2 Southwest has never been party to a lawsuit in California.          In short, Southwest is
 3 an Arizona entity with almost no contact with California, and Southwest has
 4 never availed itself of California nor invoked the benefits of California law.
 5            The individually named defendants are all Southwest employees who
 6 likewise have absolutely no contact with California. They do not own property in
 7 California, nor do they have an address or other contact information in California,
 8 or maintain any other meaningful contacts with California. In short, the Plaintiffs,
 9 representing various vacation and retirement funds (the “Funds"), could not carry
10 their burden of proving that either Southwest or the individual defendants have
11 ongoing contact within California that would “approximat[e] physical presence”15
12 so that a California state court would have personal jurisdiction over them. 16
13            B.       The Funds' contracting party is an Arizona entity.
14            The Funds brought this lawsuit solely as purported third-party beneficiaries
15 of a contract that they allege was entered with Southwest. But the Funds
                                                         17
16 themselves were not directly involved in the contract. The purported parties to
17 the contract are both Arizona residents. As stated above, Southwest is an Arizona
18 entity. The other party to the purported contract is the Southwest Regional
19 Council of Carpenters (the “Construction Union”). The Construction Union is not
20
     13
21      Wilson Decl. ¶ 10.
     14
     15
        Wilson Decl. ¶ 11.
22      Bancroft & Masters, 223 F.3d 1082, 1086, (9th Cir. 2000) (citing Gates Learjet
     Corp. v. Jensen, 743 F.2d 1325, 1331 (9th Cir. 1984)).
     16
23      Amazon.com, Inc. v. Nat’l Ass’n of Coll. Stores, Inc., 826 F. Supp. 2d 1242,
     1251 (W.D. Wash. 2011); Scott v. Breeland, 792 F.2d 925, 927 (9th Cir.1986);
24   International Shoe Co. v. Washington, 326 U.S. 310, 316, 66 S.Ct. 154, 158, 90
     L.Ed. 95, 102 (1945).
25   17
        It is well established that as a third party beneficiary, Plaintiff can have no
26
     greater right than the Construction Union to enforce any promise. Schneider
     Moving & Storage Co. v. Robbins, 446 U.S. 364, 370 (1983); see also New York
27   State Teamsters v. Borello Trucking, 172 F.3d 38 (2d Cir. 1999) (affirming
     dismissal of a fund's ERISA complaint where CBA had expired and the fund's
28   right to contribution was no greater than that in the CBA).
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 1 incorporated, so it has no place of incorporation. As such, the Construction Union
                                                                                18
 2 is considered to be a resident of each state in which its members reside.         The
 3 Construction Union purportedly has hundreds of members who are Arizona
 4 residents and who meet at its Phoenix office. Thus, a contract between Southwest
 5 and the Construction Union does not implicate California jurisdiction.
 6           C.      The defendants   did   not   contractually   trigger   California
                     jurisdiction.
 7
             1.      Southwest did not agree to be bound by the Memorandum
 8                   Agreement.
 9           The Funds presumably believe that this Court has jurisdiction over
10 Southwest because their Memorandum Agreement referenced a document that
11 purportedly contains a venue provision favoring California. The Funds, as the
12 party seeking to litigate in this Court, has the burden of proving that Southwest
13 consented to litigate in California. “Although a court may exercise personal
14 jurisdiction over a defendant through the acts of his agent, a party who relies upon
15 the authority of an agent has the burden of proof regarding both the fact of the
16 agency relationship and the scope of the agent's authority.”19 The Funds cannot
17 meet this burden because Tom Allen, who signed the Memorandum Agreement,
18 never had authority to bind Southwest, and Southwest did not otherwise agree to
19 the Memorandum.
20           Among other things, Southwest performs construction-related maintenance
21 and repair work at the Palo Verde Nuclear Generating Station just west of
22 Phoenix (the “Power Plant”) twice a year for 4-6 weeks at a time.20 Southwest
23 had previously used carpenters provided by the Construction Union to
24 supplement its workforce for the maintenance and repair work at the Power Plant,
25
     18
          United Steelworkers of America, AFL-CIO v. R. H. Bouligny, Inc., 382 U.S.
26 145, 86 S.Ct. 2721 (1965).
   19
27    Romak USA, Inc. v. Rich, 384 F.3d 979 (8th Cir. 2004) (internal citation and
   quotation omitted).
   20
28    Wilson Decl. ¶ 12.
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                                                                                      21
 1 but Southwest had never been required to sign a long-term union contract.
 2 Rather, Southwest simply employed the individual Construction Union members
 3 on a piecemeal basis, paying the carpenters (and the Funds) for the work actually
 4 performed, but having no obligation beyond the temporary work provided at the
                       22
 5 Power Plant.
 6            In mid-2013, Tom Allen, a salesman for Southwest, told his supervisors at
 7 Southwest that the Construction Union gave him a document titled “Southwest
 8 Regional Council of Carpenters – Carpenters Memorandum Agreement 2012-
 9 2016” (the “Memorandum”), which the Construction Union wanted Allen to sign
10 on Southwest's behalf.23 Allen was only a salesman for Southwest, so the
11 Construction Union had no reason to believe that Allen was authorized to sign the
12 Memorandum. Because Tom Allen had no experience with such documents, had
13 no authority to sign such documents, and indeed had never seen such documents,
14 Allen asked his supervisors for direction. 24 His supervisors told him he did not
15 have authority to enter such contracts, and indeed Southwest would not agree to
16 the Memorandum.25 Moreover, Southwest could not evaluate the issue further
17 because the Memorandum referenced several other documents that Southwest had
18 never seen and did not have access to.26
19            Despite having been explicitly told that he did not have authority to sign
20 the Memorandum and that Southwest would not agree to the Memorandum, Allen
21 signed the Memorandum on August 22, 2013. When signing the Memorandum,
22 Allen was to state his name and corporate title to ensure he had actual authority to
23 bind Southwest. Allen correctly identified himself merely as a salesman:
24
25   21
      Wilson Decl. ¶ 13.
     22
      Wilson Decl. ¶ 14.
26 23 Wilson Decl. ¶ 15.
   24
27 25 Wilson Decl. ¶ 16.
      Wilson Decl. ¶ 17.
   26
28    Wilson Decl. ¶ 18.
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 1                                   .27 Quite obviously, the Construction Union knew that a
 2 salesman would not have authority to sign a long-term union contract, particularly
 3 one that (as will be seen) potentially creates a multi-million-dollar exposure based
 4 upon the union-workers’ piecemeal temporary work. To create the impression
 5 that Allen had authority to sign the Memorandum, Allen was required –
 6 presumably by the Construction Union – to sign another copy of the
 7 Memorandum, identifying him more broadly (in different handwriting) as a
 8 company            representative:                      .28   Southwest   works    almost
 9 exclusively in Arizona, so “Local Rep” is not a title Southwest used or
10 recognized.29
11            Subsequent to Allen’s signing of the Memorandum, and still unaware that
12 Allen had signed the Memorandum, Southwest reiterated to Allen that he did not
13 have authority to bind Plaintiff by signing such contracts on Plaintiff’s behalf. 30
14 In the meantime, while still unaware that Allen had signed the Memorandum,
15 Southwest used Construction Union carpenters to perform temp work at the
16 Power Plant, just as it had been doing for years. Consistent with past practices,
17 Southwest paid for all services rendered by the union carpenters, including paying
18 the plaintiff Funds.31
19            Beginning November 2015—several years after Southwest first began
20 hiring and paying for services provided by the Construction Union’s carpenters
21 (and more than two years after Allen signed the Memorandum)—the Funds
22 purported to perform an “audit” regarding Southwest’s payments to the Funds.
23            As a result of the “audit,” the Funds demanded that Southwest make
24 additional payments in excess of $490,000, for various health-care, training,
25
     27
          Wilson Decl. ¶ 19; Ex. A to Wilson Decl.
26   28
      Wilson Decl. ¶ 20; Compl. Ex. 1.
     29
27 30 Wilson Decl. ¶ 21.
      Wilson Decl. ¶ 22.
   31
28    Wilson Decl. ¶ 23.
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 1 vacation, and pension funds. This payment demand was not based upon any work
 2 performed by the Construction Union’s carpenters. Rather, the Funds demanded
 3 payment solely based upon services performed by Southwest’s own employees.
 4 Southwest’s employees are not members of and have no affiliation with the
 5 Construction Union. Nevertheless, the Funds claimed that one of the documents
 6 incorporated into the Memorandum says Southwest must pay the Funds for all
 7 work performed by Southwest’s employees even though the employees are not
 8 union members and do not receive union benefits. In other words, the Funds
 9 claim that because Southwest hired union carpenters for temporary work at the
10 Power Plant, Southwest is required to pay the Funds for all work performed year-
11 round by Southwest’s non-union employees.
12           The Funds’ demand by itself actually exceeds the value of all services ever
13 provided by the union carpenters for that time period. 32 Neither Southwest nor
14 Southwest’s employees will receive any benefit from the health-care, training,
15 pension, and vacation plans that the Funds claim Southwest must pay for. During
16 the time that Southwest used carpenters provided by the Construction Union,
17 neither the Construction Union nor the Funds ever brought to Southwest’s
18 attention any expectation that Southwest was liable for any of the payments that
19 Funds ultimately demanded as a result of the “audits.”33
20           The Memorandum does not create any enforceable rights for the union
21 carpenters to be hired by Southwest. Rather, the Memorandum only purports to
22 set the terms of employment—if (and only if) Southwest decided to hire union
23 carpenters. After the Funds made their demand for additional money, Southwest
24 immediately stopped hiring the union carpenters.34
25           Thus, although Allen was an employee of Southwest at the time he
26
     32
27    Wilson Decl. ¶ 24.
     33
      Wilson Decl. ¶ 25.
   34
28    Wilson Decl. ¶ 26.
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 1 purportedly signed the Memorandum, he was not authorized to sign the
                    35
 2 Memorandum.           Equally important, the Construction Union knew or should have
 3 known that Allen did not have authority to bind Southwest to the Memorandum,
 4 and Southwest has not ratified Allen’s unauthorized act in signing the
 5 Memorandum. And since Southwest did not agree to be bound by the
 6 Memorandum, it necessarily follows that Southwest is not bound by a venue
                                                                                 36
 7 provision that was buried in a document referenced by the Memorandum.
 8         2.     The Memorandum's         venue-selection    provision   is   void   and
                  unenforceable.
 9
           Even if Southwest is bound by the Memorandum (it is not), and even if the
10
     Memorandum adequately identified California as the situs for this lawsuit (it did
11
     not), Southwest still is not subject to suit in California because the venue-
12
     selection provision is invalid. As a matter of public policy, the Arizona legislature
13
     has declared that every covenant or understanding that is “collateral to or affect[s]
14
     a construction contract” must be litigated in Arizona:
15
16         A. The following are against this state’s public policy and are void
              and unenforceable:
17
                  1. A provision, covenant, clause or understanding in,
18                   collateral to or affecting a construction contract that makes
                     the contract subject to the laws of another state or that
19                   requires any litigation arising from the contract to be
                     conducted in another state.
20
                     ...
21
           B. Any mediation, arbitration or other dispute resolution proceeding
22            arising from a construction contract 37for work performed in this
23            state shall be conducted in this state.

24 As discussed above, the only reason Southwest hired the Construction Union
25 carpenters was to provide construction services for the Power Plant in Arizona.
26
     35
27    Wilson Decl. ¶ 16, 17, 19, 22.
     36
      Romak, 384 F.3d at 979.
   37
28    A.R.S. § 32-1195(A)(1) (emphasis added).
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 1 Indeed, the Construction Union admits in its Complaint that Southwest was “a
                                                          38
 2 contractor engaged in the construction industry”            and that Southwest “engaged
 3 [union] workers . . . [to] perform[ ] labor on works of construction . . . [under]
                                         39
 4 the term of the [Memorandum].”             In other words, as alleged in the Complaint,
 5 the Memorandum either constitutes a construction contract or, at a minimum, the
 6 Memorandum is “collateral to or affect[s] a construction contract” under A.R.S. §
 7 32-1195(A)(1). Thus, the Memorandum’s purported venue provision—which
 8 purportedly requires litigation in California—violates public policy and is invalid
 9 under Arizona law. Even more important, because the construction work was
10 performed in Arizona, all “dispute resolution proceeding[s],” including this
11 litigation, must be conducted in Arizona. 40
12 2.         The Court should transfer venue to the District of Arizona.
13            If this Court denies the motion to dismiss, it should nevertheless transfer
14   38
        Compl. ¶ 13 (emphasis added).
     39
15      Compl. ¶ 20 (emphasis added).
     40
        See, e.g., Keystone, Inc. v. Triad Systems Corp., 292 Mont. 229, 235 (1998)
16   (where state statute “has been applied to invalidate forum selection clauses that
     would have the effect of forcing Montana residents to litigate disputes outside of
17   Montana,” holding that “provision at issue which requires that a Montana resident
     arbitrate disputes related to a contract to be performed in Montana at a location
18   outside Montana is void because it violates Montana law.”); see also Jones v.
     GNC Franchising, 211 F.3d 495, 498 (9th Cir. 2000) (“By voiding any clause in a
19   franchise agreement limiting venue to a non-California forum for claims arising
20   under or relating to a franchise located in the state, [the statute] . . . expresses a
     strong public policy of the State. . . . A provision, therefore, that requires a
21   California franchisee to resolve claims related to the franchise agreement in a
     non-California court directly contravenes this strong public policy and is
22   unenforceable.”); Ida. Pac. Corp. v. Binex Line Corp., 2016 WL 843254 *11 (D.
     Ida. 2016) (“An underlying policy in favor of upholding forum selection clauses .
23   . . stresses the importance of upholding forum selection clauses which were
     bargained for by the parties. [When the forum-selection clause was not
24   negotiated, the policies in favor of enforcing a forum-selection clause are no
     longer present]. Accordingly, [a party]’s lack of bargaining power qualifies as an
25   exceptional circumstance to warrant non-enforcement of [a] forum selection
26
     clause.”); Jacobsen Const. Co., Inc. v. Teton Builders, 106 P.3d 719, 725-26
     (Utah 2005) (holding that policy behind Utah statute which “declares
27   unenforceable any forum selection clause contained in a construction contract that
     requires litigation in a state other than Utah” would be best served by having
28   litigation in Utah).
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 1 this case to the District of Arizona. “For the convenience of parties and witnesses
 2 in the interest of justice, a district court may transfer any civil action to any other
                                                             41
 3 district court where it might have been brought.”              The purpose of the venue-
 4 transfer statute is “to prevent the waste of time, energy, and money and to protect
 5 litigants, witnesses and the public against unnecessary inconvenience and
                   42
 6 expense.”            “Thus, even when venue is proper where the action is pending,
 7 section 1404(a) [the venue-transfer statute] provides the Court with the discretion
                                                    43
 8 to transfer an action to a different venue.”
 9            Analysis under § 1404(a) is two-fold. First, the defendant must establish
10 that the matter “might have been brought” in the district to which transfer is
11 sought.44 Second, the court must consider the following three factors: (1) the
12 convenience of the parties; (2) the convenience of the witnesses; and (3) the
13 interests of justice.45 In analyzing the third factor, the “interests of justice,” a
14 number of factors are relevant, including: (1) the location where the relevant
15 agreements were negotiated and executed, (2) the state that is most familiar with
16 the governing law, (3) the plaintiffs choice of forum, (4) the respective parties’
17 contacts with the forum, (5) the contacts relating to the plaintiffs cause of action
18 in the chosen forum, (6) the differences in the costs of litigation in the two
19 forums, (7) the availability of compulsory process to compel attendance of
20 unwilling non-party witnesses, and (8) the ease of access to sources of proof. 46
21 Virtually all of these factors compel a transfer of venue.
22            A.        This lawsuit could have been filed in Arizona.
23            This lawsuit plainly could have been filed in Arizona. In fact, Southwest
24 has already filed a lawsuit in Arizona seeking a declaration judgment regarding
25   41
      28 U.S.C. § 1404(a).
     42
      Saleh v. Titan Corp., et al., 361 F.Supp.2d 1152 (S.D. Cal. 2005).
26 43 Catch Curve, Inc. v. Venali, Inc., 2006 WL 4568799 (C.D.Cal. 2006).
   44
27 45 28 U.S.C. § 1404(a).
      28 U.S.C. § 1404(a).
   46
28    Szegedy v. Keystone Food Prod., Inc., 2009 WL 2767683 (C.D. Cal. 2009).
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 1 all of the claims asserted by the Funds in this case. Although the complaint in this
                                                                    47
 2 case was filed 5 days before the complaint in Arizona,                Southwest affected
 3 service on the Funds 11 days before the Funds even attempted to serve Southwest
 4 in this case, so the Arizona court was the first to have perfected jurisdiction over
                     48
 5 the parties.           In fact, the Funds never even attempted to contact Southwest
 6 regarding this litigation until a week after Southwest had already served the
 7 Funds with the Arizona summons.
 8            The Funds could have—and should have—filed this suit in Arizona. For
 9 ERISA claims, venue is proper in the district court in any of four locations: (1)
10 where the plan is administered; (2) where the breach took place; (3) where a
11 defendant resides; or (4) where a defendant may be found. 49 Three of those four
12 alternatives point to Arizona. Southwest employed—and allegedly failed to pay—
13 the union members in Arizona for services that provided in Arizona. All of the
14 defendants reside in Arizona, and they can all be found here. Thus, this action
15 clearly could have been brought in the District of Arizona.
16            B.       The convenience of the parties weighs in favor of transfer.
17            The convenience of the parties weighs heavily in favor of transfer:
18 Southwest’s principal place of business is in Phoenix, and Southwest has no
                                                   50
19 offices, facilities, or personnel in California. In fact, Southwest’s office is
20 located less than two miles from the District of Arizona’s courthouse. Thus,
21 Arizona is obviously more convenient for Southwest and the individual
22 defendants (employees working in Southwest’s corporate office). All of
23
24   47
        Compare Compl., Dkt. #1, filed Oct. 28, 2016, with HKB Inc. v. Bd. of Trustees
     for the Southwest Carpenter’s Southwest Trust et al, 2:16-cv-03799-DJH (D.
25   Ariz.), Dkt. No. 1 (complaint filed Nov. 2, 2016).
     48
26
        Compare Dkt. No. 10 (HKB served on Nov. 14, 2016) with HKB Inc. v. Bd. of
     Trustees for the Southwest Carpenter’s Southwest Trust et al, 2:16-cv-03799-DJH
27   (D. Ariz.), Dkt. Nos. 9, 10 (defendants served in Arizona case on Nov. 3, 2016).
     49
        29 U.S.C. § 1132(e)(2).
     50
28      Wilson Decl. ¶ 2, 3, 5-7.
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 1 Southwest’s anticipated party witnesses—particularly those who have knowledge
 2 regarding Allen’s lack of authority to bind Southwest—reside in the Phoenix
           51
 3 area.
 4            The Funds, in contrast, were not signatories to the Memorandum
 5 Agreement, were not part of negotiating the Memorandum, and were not involved
 6 in performance of the work under the Memorandum. They are nothing more than
 7 mere third-party beneficiaries or transferees of the Memorandum Agreement.
 8 Thus, they have no more rights than the Construction Union under the
                                     52
 9 Memorandum Agreement.                  Even so, Plaintiffs likely have few, if any, party
10 witnesses who reside in California. Equally important, it obviously is not
11 inconvenient for the Funds to litigate in Arizona because the Construction Union
12 is officed in Arizona with hundreds if not thousands of members in Arizona, so
13 the Funds are already engaged in business in Arizona. Even more important, the
14 Funds audited Southwest and asserted their claim while Southwest remained
15 exclusively in Arizona, so Arizona does not constitute an inconvenient forum.
16            C.       The convenience of the non-party witnesses weighs in favor of
                       transfer.
17
              “The convenience of the witnesses is usually the most important factor to
18
     consider in deciding whether to transfer an action.”53 This factor points
19
     exclusively to Arizona. Tom Allen, the former Southwest employee who signed
20
     the Memorandum—and whose testimony will be crucial to this matter—resides in
21
     the Phoenix area.54 Moreover, in Exhibit 3 of the Complaint, the Funds identified
22
     fifteen Southwest employees whose pay the Funds disputed during their audit. All
23
     fifteen of these Southwest employees live in the Phoenix area. 55 Furthermore,
24
25
     51
26
      Wilson Decl. ¶ 27.
     52
      Schneider Moving & Storage Co. v. Robbins, 446 U.S. 364, 370 (1983).
   53
27 54 re Yahoo! Inc., 2008 WL 707405, *3 (C.D. Cal. 2008).
      In
      Wilson Decl. ¶ 28.
   55
28    Wilson Decl. ¶ 27.
     CORE/3008422.0002/130177244.6
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 1 eight of the twenty-four union members whose work gave rise to this claim reside
                                                        56
 2 in Arizona—more than any other state.                     Thus, Arizona is a far more convenient
 3 forum for the non-party witnesses.
 4            D.       Public factors support transfer to the District of Arizona.
 5            In addition to the private factors enumerated above, the court must consider
 6 the “public-interest factors and fairness that . . . come under the heading of ‘the
                                     57
 7 interests of justice.’”                These public-interest factors include such things as the
 8 local jurisdiction’s interest in having localized issues decided at home and the
                                                                           58
 9 forum’s familiarity with the law that will govern the case.
10            1.       Plaintiffs’ choice of forum is entitled to no deference.
11            “[O]rdinarily, a plaintiff's choice of forum is entitled to deference. This is

12 not the case, however, when . . . the operative facts have not occurred within the
                                                                  59
13 forum [or] the forum has no particular interest in the action.” Even in ERISA
14 cases, courts will transfer venue when the plaintiff’s choice of forum “lack[s] any
                                                            60
15 significant contact with the underlying cause of action.” The Funds’ claim in
16 this case lacks sufficient contact with California to justify any deference the
17 Fund’s decision to sue in California.
18            All of the operative facts in this case occurred in Arizona, not California.

19 Southwest is an Arizona entity working almost exclusively in Arizona. The
20 Construction Union had a long history of providing construction services for the
21 Power Plant in Arizona. The Memorandum was signed by Tom Allen in Arizona,
22 as Tom Allen was a Southwest employee living in Arizona who did not travel to
23
24   56
        Wilson Decl. ¶ 29.
     57
        Langley v. Prudential Mortg. Capital Co., 546 F.3d 365, 370 (6th Cir.2008)
25   (citation omitted).
     58
26
        In re Nintendo Co., 589 F.3d 1194, 1198 (Fed.Cir.2009); Ravelo Monegro v.
     Rosa, 211 F.3d 509, 512 (9th Cir.2000).
     59
27      Metz v. U.S. Life Ins. Co. in City of New York, 674 F. Supp. 2d 1141, 1146
     (C.D. Cal. 2009).
     60
28      Hanley v. Omarc, Inc., 6 F. Supp. 2d 770, 775 (N.D. Ill. 1998).
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                                                                  61
 1 California to negotiate or sign the Memorandum.                     And the Construction Union
                                                                              62
 2 has never performed any work for Southwest in California.                       Finally, nearly all of
                                                                         63
 3 the material witnesses reside in Arizona, not California.
 4            The fact that the Funds choose to administer their accounts from California
 5 is of no significance, particularly since Southwest is purported to have contracted
 6 with the Construction Union, not the Funds, and Southwest had no role or choice
 7 in the Funds’ decision to administer their program from Arizona. Moreover, the
 8 Funds are operated for the benefit of Construction Union carpenters who reside
                                     64
 9 and work in Arizona.                   Indeed, it was their Memorandum that gave rise to this
10 litigation.
11            2.       This lawsuit is governed by Arizona law.
12            Although the plaintiffs cite federal law (ERISA) in their complaint, ERISA
                                                            65
13 principles are applied against a backdrop of Arizona law. As stated previously,
14 the Arizona legislature has said that all contracts “collateral to or affecting a
                                                         66
15 construction contract” must be decided by Arizona law. Indeed, the law makes
                                                                          67
16 any contractual choice-of-law provision void as against public policy.
17 Significant here, Arizona law will govern questions of contract formation and
                                                                   68
18 whether the Funds claim is barred by the statute of limitation.
19
     61
20      Wilson Decl. ¶ 30.
     62
        Wilson Decl. ¶ 12, 13.
     63
21      Wilson Decl. ¶ 27-29.
     64
        Wilson Decl. ¶ 29.
     65
22      Wetzel v. Lou Ehlers Cadillac Group Long Term Disability Ins. Program, 222
     F.3d 643, 646–47 (9th Cir. 2000) (courts look to “most analogous state statute”
23   when “[t]here is no specific federal [ERISA] statute” on a given issue).
     66
        A.R.S. § 32-1129.05.
24   67
        A.R.S. § 32-1129.05(a)(1).
     68
        Blood Systems, Inc., v. Roesler, 972 F. Supp. 2d 1150, 1156-57 (D. Ariz. 2013)
25   (finding that ERISA claim was barred by Arizona’s one-year statute of limitations
26
     for employment contracts). See also Syed v. Hercules Inc., 214 F.3d 155 (3d Cir.
     2000) (plaintiff’s ERISA claims barred by Delaware’s one-year statute of
27   limitations for employment disputes); Adamson v. Armco, Inc., 44 F.3d 650, 652-
     54 (8th Cir.1995) (plaintiffs’ ERISA claims barred under Minnesota's statute of
28   limitations for wage claims).
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 1
              3.       Arizona has a strong interest in deciding this case.
              As discussed previously, Arizona has a strong interest in deciding this case
 2
     because Southwest is an Arizona entity; the Memorandum was purportedly
 3
     signed by Allen in Arizona, and all of the work performed under the
 4
     Memorandum was performed in Arizona. Moreover, both Southwest and the
 5
     Construction Union, which purportedly signed the Memorandum, are officed in
 6
     Phoenix.69 In fact, Arizona’s legislature has declared as a matter of public policy
 7
     that Arizona courts must decide this case based solely on the fact that the
 8
     construction work occurred in Arizona. “Any . . . dispute resolution proceeding
 9
     arising from a construction contract for work performed in [Arizona] shall be
10
     conducted in [Arizona].”70
11
              In contrast, California has no real interest in providing a forum for this
12
     dispute. Nothing related to this Memorandum occurred in California, and
13
     Southwest never sought out California workers—the union merely provided
14
     workers to Southwest based on availability.71 While Southwest focuses its
15
     business in Arizona, the Funds are in the business of reaching out to employers
16
     wherever the union gets work (including those in Arizona).72 To the extent any
17
     activities occurred in California, they are related to collection and audit—events
18
     which did not give rise to the alleged breach, but are instead incidental to the
19
     alleged breach committed in Arizona.
20
              4.       Litigating in California will be more expensive than in Arizona.
21
              As discussed above, there are, at minimum, 22 Southwest employees and
22
23
     69
        The Construction Union has an office located at 4547 W. McDowell Rd.,
24 Phoenix, AZ 85035. See http://www.swcarpenters.org/src-offices/                    This is
     approximately 5.5 miles from the District of Arizona’s courthouse.
25   70
        A.R.S. § 32-1195(B). This court must consider the public policies of both
26
     California and Arizona. See In re LMI Legacy Holdings, Inc., 553 B.R. 235, 251
     (2016) (“public interest factors [include] . . . policy policies of the fora.”).
     71
27      Wilson Decl. ¶ 31.
     72
        Exhibits 3 to the Complaint shows the Funds reached out to Southwest (in
28   Arizona), not the other way around.
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 1 union workers whose testimony will likely be relevant and who all reside in
                 73
 2 Arizona.           In addition, the three individual defendants reside in the Phoenix
           74
 3 area.        If this case remains in California, that would require, at minimum, twenty-
 4 five people needlessly traveling to Los Angeles for trial. This factor weighs
 5 heavily in favor of transfer.
 6          5.         The key witness in this matter, Allen, is within the subpoena power of
                       the District of Arizona, but not this District.
 7
            As discussed above, one of the key witnesses in this matter is Allen, the
 8
     former Southwest employee who signed the Memorandum. His testimony would
 9
     be highly relevant to issues of actual authority, apparent authority, and would
10
     shed light on the negotiations regarding the Memorandum. Because he resides in
11
     the Phoenix area75 and is no longer affiliated with Southwest, transferring this
12
     case to the District of Arizona is absolutely crucial so Southwest can present its
13
     case at trial.
14
            6.         All of Southwest’s documents are in Arizona, not California.
15
            As discussed above, Southwest does business almost exclusively in
16
     Arizona, and all of its records—which are relevant to this matter—are located in
17
     Arizona, not in California.
18
     3.     Conclusion
19
            The Complaint against Southwest should be dismissed. Southwest is an
20
     Arizona entity with no relevant ties to California; Southwest cannot be bound by
21
     the terms of the Memorandum or the venue provision it purportedly incorporates;
22
     all of the important operative facts took place in Arizona; Arizona has declared
23
     that this case must be decided in Arizona as a matter of public policy; and
24
     litigation in California creates an unnecessary burden for the parties and make it
25
     more difficult to present evidence from witnesses who are all located in Arizona.
26
     73
27    Wilson Decl. ¶ 27, 29.
     74
      Wilson Decl. ¶ 27.
   75
28    Wilson Decl. ¶ 28.
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 1 Besides a lawsuit covering the same issues as this lawsuit is already pending in
 2 the federal district of Arizona, so this case should be dismissed for forum non-
 3 convenience. In the alternative, the Court should transfer venue of this case to
 4 Arizona.
 5            RESPECTFULLY SUBMITTED 5th day of December, 2016.
 6                                          STINSON LEONARD STREET LLP
 7                                   By:    /s/ Javier Torres
                                            Javier Torres
 8                                          1850 North Central Avenue, Suite 2100
 9
                                            Phoenix, Arizona 85004-4584
                                            Attorneys for Southwest Industrial
10                                          Rigging

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 1                                    PROOF OF SERVICE
 2            1.       I am over 18 years of age and not a party to this action. I am a
 3 resident of or employed in the county where the mailing took place.
 4            2.       My residence or business address is: 1850 North Central Avenue,
 5 Suite 2100, Phoenix, Arizona 85004.
 6            3.       On December 5, 2016 I mailed from Phoenix, Arizona the following
 7 documents: MEMORANDUM OF POINTS AND AUTHORITIES IN
 8 SUPPORT               OF MOTION TO DISMISS or TRANSFER VENUE;
 9 DECLARATION OF JAMES DOUGLAS WILSON; EXHIBIT A.
10            4.       I served the documents by enclosing them in an envelope and
11 placing the envelope for collection and mailing following our ordinary business
12 practices. I am readily familiar with this businesses practice for collection and
13 processing correspondence for mailing. On the same day that correspondence is
14 placed for collection and mailing, it is deposited in the ordinary course of
15 business with the United States Postal Service in a sealed envelope with postage
16 fully prepaid.
17            5.       The envelopes was addressed and mailed as follows:
18            Daniel Shanley
              DeCarlo & Shanley
19            533 South Freemont Avenue, Ninth Floor
              Los Angeles, California 90071-1706
20
21            I declare under penalty of perjury under the laws of the State of California
22 that the foregoing is true and correct.
23
24 Dated: December 5, 2016
25                                             /s/ Celia M. Guerrero
                                               Celia M. Guerrero
26
27
28
     CORE/3008422.0002/130177244.6
                                                18
